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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


 JOE ALEXANDER                                 )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )                 Case No. 3:19-cv-688-JAG
                                               )
                                               )                 TRIAL BY JURY
 DIET MADISON AVENUE                           )                 IS DEMANDED
       et al                                   )
                                               )
        Defendants.                            )
                                               )


                        AMENDED COMPLAINT
        Plaintiff, Joe Alexander (“Alexander”), by counsel, pursuant to Rule 15(a)(1)(B)

 and the Court’s Order entered November 8, 2019 [ECF No. 20], files the following

 Amended Complaint against Defendants, Diet Madison Avenue (“DMA”), Jean Batthany

 (“Batthany”), Dani Hurt (“Hurt”), Mara Buta (“Buta”), Adweek, LLC (“Adweek”) and

 Patrick Coffee (“Coffee”), jointly and severally.

        Plaintiff seeks (a) compensatory damages and punitive damages in the sum of

 $25,350,000.00, (b) plus prejudgment interest on the principal sum awarded by the

 Jury from November 21, 2017 to the date of Judgment, and (c) court costs and expenses –

 arising out of the Defendants’ tortious interference with contract, tortious interference

 with prospective economic advantage, common law conspiracy, aiding and abetting,

 defamation, and intentional infliction of emotional distress.




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                                  I. INTRODUCTION

        1.      This case is about a conspiracy and betrayal that rocked the advertising

 industry.

        2.      Joe Alexander (“Joe”) was the Chief Creative Officer (“CCO”) at The

 Martin Agency in Richmond, Virginia. He led the team of creatives responsible for the

 great success of the GEICO account and many others. Under Joe’s leadership, GEICO

 became the No. 2 car insurance brand; OREO’s global sales rose 12%; Ping became the

 No. 1 driver in golf; and Donate Life’s donor base increased 600%. Joe’s creative

 leadership produced acclaimed work for clients and brands in almost every category and

 medium. [https://joealexander.net/about-me-1].    In 2017, The Martin Agency won a

 Grand Clio1 award for the powerful short film Donate Life – The World’s Biggest

 Asshole.    [https://clios.com/awards/winner/film/donate-life/the-world-s-biggest-asshole-

 17052]. In 2015, GEICO’s Unskippable pre-roll campaign2 was Adweek’s Campaign of

 the Year and took home 12 Cannes Lions,3 including the Grand Prix in Film:


        1
               The Clios is an esteemed international awards competition for the creative
 business. Founded in 1959 to celebrate high achievement in advertising, the Clios
 annually and throughout the year recognize the work, the agencies and the talent that
 push boundaries and establish new precedent. The “Grand Clio” is the highest honor
 bestowed by the Clios. [https://clios.com/awards].

        2
               https://www.youtube.com/watch?v=g0zJNjGM5Dw (“You can’t skip this
 GEICO ad because its already over”); https://www.youtube.com/watch?v=4ELn-
 NTKo44 (Geico – Unskippable Elevator); https://www.youtube.com/watch?v=8JomU-
 0WHLk (Geico – Unskippable High Five);
 https://www.youtube.com/watch?v=cshPQ3ZbESs (Geico – Unskippable Hungry Dog).

        3
                The Cannes Lions are the most established and coveted awards for the
 creative and marketing communications industry. Winning at the Cannes Lions
 International Festival of Creativity Festival puts you among the world’s elite. Cannes
 Lions trophies are recognized globally as the ultimate achievement in creativity.
 [https://www.canneslions.com/our-awards].


                                             2
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 In 2013, Clouds Over Cuba, a striking interactive documentary produced for the JFK

 Presidential Library and Museum, won an Emmy Award.       It was the first time an

 advertising agency had ever won an Emmy in the News and Documentary category:




                                         3
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 [https://martinagency.com/news/the martin agency wins emmy for clouds over cuba]

 Well before Joe became CCO of The Martin Agency, he was the creative star of the

 Agency. His writing for The JFK Presidential Library won international acclaim. His

 writing for Healthtex captured the hearts of parents everywhere:




 He helped win millions of dollars in new business for The Martin Agency, including

 Mercedes-Benz, Olympus, PING, Kindercare, Remy Martin, Careerbuilder, Pizza Hut,

 UPS, and more. From 2010 to 2012, he led the Walmart account:




 Under Joe, the Walmart account grew to be the largest in Agency history with over

 $45,000,000.00 in revenue. When Joe was promoted to CCO in 2012, the late Mike


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 Hughes, former Martin Agency President, stated that “Joe’s passion for the work, his

 unbridled drive to push hard for brilliant creative and his ability to mentor creative talent

 across all disciplines combine to make him the right guy for this critically important job.”

 By May 2016, The Martin Agency was recognized at The One Show4 as 2016 Agency of

 the Year. The Agency and GEICO also received the inaugural Penta Pencil, an award

 given to an agency-brand team who, together, have created stellar work for five or more

 continuous    years. [https://martinagency.com/news/the-one-show-names-martin-agency-

 2016-agency-of-the-year]. Joe was named one of the fifty (50) Most Creative People in

 the World by Ad Age magazine and the 7th most Creative in the World by Adweek.

 [https://adage.com/article/special-report-creativity-50-2015/creativity-50-2015-joe-

 alexander/301720; https://www.adweek.com/brand-marketing/10-chief-creative-officers-

 who-are-inspiring-breakthrough-work-us-agencies-165896/]. In 2017, just a few months

 before his termination, the One Club ranked Joe # 1 Chief Creative Officer in the world:




        4
                The One Show is one of the most prestigious awards competitions in
 advertising, design, interactive and branded entertainment. Judged every year by top
 industry professionals, a Gold Pencil is the ultimate symbol of creative excellence.
 [https://www.oneclub.org/awards/theoneshow/].


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 Joe was near the top of his career in advertising.

        3.      Beginning in 2017 and continuing thereafter, the Defendants, acting in

 concert and combination together, with other partner/members of DMA and with agents

 and former agents of The Martin Agency (“Martin”), robbed Joe of his entire life’s work,

 destroyed his name and reputation, and permanently impaired his ability to find

 employment in the advertising industry. The Defendants targeted Joe for termination,

 and worked with Martin to accomplish the task. In furtherance of the conspiracy, Martin

 breached its fiduciary duties and secretly leaked to the Defendants the terms of a

 confidential settlement agreement that Martin and Joe had entered into in 2013 to resolve

 a disputed accusation.     Martin also disclosed the contents of confidential human

 resources (HR) files to DMA, knowing that DMA intended to use and republish the

 confidential information as part of a #MeToo crusade against white, male, chief creative

 officers at prominent advertising agencies. Martin represented to DMA that Joe had

 sexually harassed Martin employees. The allegations were completely false. Martin

 concealed its involvement with DMA and its vicious, despicable, premeditated

 misconduct and betrayal from Joe. In order to cover up Martin’s involvement with DMA

 and Martin’s flagrant breaches of trust and duty, gross negligence and wrongdoing,

 Martin and its parent company, The Interpublic Group of Companies, Inc. (“IPG”),

 concocted a “sexual harassment” claim and used the false claim as a pretext to terminate

 Joe. After Martin terminated Joe, Adweek and Coffee hungrily published the false and

 defamatory statements received from DMA and Martin to millions in the advertising

 industry in multiple hit pieces. In December 2017, DMA bragged publicly about what




                                               6
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 they had done to Joe and what they threatened to do (and later did) to others. Using an

 Instagram account, DMA posted the following insulting words:




                                           7
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        4.      In this case, Joe seeks to recover presumed damages and actual damages

 caused by the Defendants’ egregious misconduct. The Defendants went out of their way

 to wreck the life of a hugely successful and incredibly popular Virginia creative, and,

 then, to compound their misconduct with more defamation.          They conspired with

 employees and former employees of Martin to intentionally betray and hurt a human

 being at the top of his career. They jointly undertook to promote the misandry of DMA

 and #MeToo. The Defendants should be punished for their unlawful actions and a very

 strong message needs to be sent to prevent others who choose to conspire and defame

 from ever acting in a similar way.

                                      II. PARTIES

        5.      Joe lives in Richmond, Virginia. He is 59-years old. Joe grew up in a

 huge family with three sisters and five brothers. Joe’s father “Ace” was a man of honor,

 always aware of right and wrong. He had very defined moral guidelines. He was

 respectful and open to differing points of view and new ideas. He passed those same

 traits on to Joe. [http://consciencenow.blogspot.com/]. Joe is married. He helped raise

 three (3) smart, confident, compassionate, successful daughters, with whom he is very

 close. Joe often brought his daughters to work and on the road with him. They loved

 seeing their father do work he loved. During this time, Joe was a major part of Martin’s

 success, including transforming UPS from the world’s leading shipping company to the

 world’s leading supply chain and logistics provider by asking, “What can Brown do for

 you?”. As a result of Joe’s creative leadership, Martin won Effie Awards5 between 2012



        5
               The Effie Awards recognize all forms of marketing that contribute to a
 brand’s success. For over 50 years, winning an Effie has become a global symbol of
 achievement. [https://www.effie.org/worldwide/about].


                                            8
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 and 2017 for multiple campaigns on behalf of multiple different clients, including

 GEICO and Walmart. [https://effie.org/case_database/case/3051 (GEICO – Happier Than

 II – featuring Hump Day Camel) (https://www.youtube.com/watch?v=WMsXhG9S2LU);

 https://www.effie.org/case_database/case/NA_2012_6637 (Walmart)].            The Martin

 Agency was named to the Ad Age Creative Innovators List four (4) times.

 [https://adage.com/article/special-report-agency-alist-2016/creativity-innovators-martin-

 agency/302296; https://martinagency.com/news/ad-ages-first-ever-campaign-of-the-year-

 award]. The creative genius of The Martin Agency was a major reason parent company

 IPG was named the Most Effective Holding Company of the Year in 2017.

 [https://interpublicgroup.gcs-web.com/news-releases/news-release-details/ipg-named-

 most-effective-holding-company-2017-north-american].       Joe sat on the distinguished

 board of The One Club, was Cannes Lions Film Jury President in 2016, and was a regular

 guest speaker in the advertising industry and on campuses, including the renowned VCU

 Brandcenter. It took a life-time for Joe to establish his name, goodwill and to build his

 personal and professional reputations. Until he was betrayed, attacked and smeared by

 the Defendants beginning in 2017, Joe enjoyed an untarnished reputation in the

 advertising industry.

        6.      Defendant, DMA, is a partnership, joint venture, “collective”. or

 unincorporated association of individuals, none of whom, upon information and belief, is

 a citizen of Virginia. DMA was formed by advertising executives and others for the sole

 purpose of anonymously doxxing, smearing and shaming alleged sexual harassers in the

 advertising industry. DMA confirmed in a post that:




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  DMA was started to “expose” Joe:




                                     10
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  DMA proclaimed that it had a duty to expose “sexual harassment/abuse” “cuz HR

  won’t”. DMA’s mission was personal and premeditated:




  On February 2, 2018, DMA confirmed that it had targeted seven (7) advertising agencies:

  “over the past few months we have held the following agencies accountable in a similar

  fashion: @martinagency @grey @tbwa @cpbgroup [and @droga5] Next up:

  @mccann_ww & @180la.” DMA was aggressive, unabashed and publicly unapologetic:




                                            11
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  Richmond, Virginia, and Martin was ground zero in DMA’s campaign of intimidation

  and character assassination. DMA began operations as a direct result of the stories it

  heard about Joe from Martin and how harassment complaints were supposedly handled at

  Martin.       [https://www.nytimes.com/2018/03/07/business/media/diet-madison-avenue-

  instagram.html (a lengthy document about DMA’s mission shared with the New York

  Times “noted that the group [DMA] was formed after its members learned of how

  harassment complaints were handled at the Martin Agency”)].         DMA operated an

  Instagram account, “dietmadisonave”. [https://www.instagram.com/dietmadisonave/].6

  DMA used Instagram and its direct messenger (“DM”) service to target Joe and others for
            6
                  Instagram is a free photo and video sharing app available on Apple iOS,
  Android and Windows Phone. People can upload photos or videos to our service and
  share them with their followers or with a select group of friends. They can also view,
  comment and like posts shared by their friends on Instagram. Anyone 13 and older can
  create an account by registering an email address and selecting a username.
  [https://help.instagram.com/424737657584573]. Instagram is owned by Facebook, Inc.
  (“Facebook”). Facebook’s is authorized to transact business in Virginia. Its registered
  office and registered agent are located in the City of Richmond, Virginia. According to
  Instagram’s “Terms of Use,” a user “can’t do anything unlawful, misleading, or
  fraudulent or for an illegal or unauthorized purpose,” and “can’t post private or
  confidential information or do anything that violates someone else’s rights”. Further,
  Instagram’s “Community Guidelines” state that it is unacceptable to post “content that
  targets private individuals to degrade or shame them” or “personal information meant to
  blackmail or harass someone”. [https://help.instagram.com/581066165581870 (“terms of
  Service); https://help.instagram.com/477434105621119 (Community Guidelines)].


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  termination. DMA communicated anonymously with Martin and former employees of

  Martin in Virginia for the express purpose of interfering with and ending Joe’s

  employment. In addition to its Instagram account. DMA set up three (3) email accounts:

         dietmadisonavenue@gmail.com;

         dietmadisonave@gmail.com; and

         Madisonaveabuse@gmail.com.

  DMA used these email accounts to communicate false and defamatory statements

  concerning its targets.   Martin was the first advertising agency to leak confidential

  information to DMA. On multiple occasions DMA and its agents confirmed working

  directly with Martin in furtherance of the conspiracy to eliminate Joe.     DMA also

  confirmed that it had received copies of confidential Martin HR reports and NDAs:




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  Between October 2017 and the present, DMA and its agents published unverified,

  scandalous, and salacious statements about Joe – statements that were received from

  Martin. DMA acted as judge, jury and executioner to “call out” Joe for termination.

  DMA represented everything that was wrong about the nascent #MeToo movement. It’s

  statements and visual content graphically symbolized hatred, intolerance, and rabid

  misandry.    DMA was determined to hold white, male, chief creative officers

  “accountable” no matter what the costs and consequences:7


         7
                   An advocate of violent activism has taken credit for one visual image
  employed by DMA. [https://twitter.com/ShannonDowney/status/959581597128445959
  (“@dietmadisonave hey. I’m in full support of outing the ad world perves. The boys
  will be boys piece is mine. Wanted you to know. My insta is @badasscrossstitch so you
  can credit it”)].



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            7.       DMA is operated by identifiable partners, associates and/or individual

  members, who act in concert to destroy the careers of white, male, chief creative officers,

  including Joe. At all times relevant to this action, Batthany, Hurt, and Butta acted as

  partner/members and agents of DMA in furtherance of DMA’s primary mission to get rid

  of Joe.        The identity of DMA’s remaining confederates remains unknown because

  DMA’s partner/members have concealed their identities and have resisted every effort to

  unmask them.         Upon information and belief, the remaining DMA partner/members

  include current or former employees of three (3) advertising agencies: Crispin-Porter-

  Bogusky [https://www.cpbgroup.com/], 180LA [https://www.180la.com/], and Droga5


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  [https://droga5.com/].              In 2017, DMA published a post stating that the group was

  comprised of people in the advertising industry, Ph.D students, professors, and 2 lawyers.

  Ralph M. Watson (“Watson”), another victim of DMA’s smear and intimidation

  campaign, received private messages (Instagram DMs) between DMA and an individual

  at the Droga5 advertising agency (“Droga5”). These DMs confirmed that the DMA

  Instagram account was operated in part by people who worked in advertising, with at

  least two working at Droga5, one of whom was Buta. Batthany, Hurt, Buta and one or

  more of the other DMA partner/members participated in a conspiracy with Martin and

  former employees of Martin, including Sissy Estes (“Estes”), to tortiously interfere with

  and to terminate Joe’s employment with Martin.

          8.         Defendant, Adweek is a Delaware limited liability company. Adweek is

  owned        by         the         Canadian   private      equity    firm,        Beringer   Capital.

  [https://www.adweek.com/digital/adweek-acquired-private-equity-firm-beringer-capital-

  172542/;     https://twitter.com/tonyrobbins/status/756490412693479424?lang=en                  (“My

  partners and I purchased @Adweek – one of the leading trade publications”)]. None of

  Adweek’s members is a citizen of Virginia. Adweek launched in 1978 and now attracts

  more than 6.5 million monthly unique visitors online, counts 1.9 million social media

  followers,        and         has     a   weekly    print     circulation     of     around   40,000.

  [https://www.youtube.com/channel/UCKhCJRTHHLuW2iW7XQtcfyQ (“we reach more

  than 6,000,000 marketing wizards, ad innovators, tech titans, media mavens and brand

  geniuses … three times our nearest competitor”)]. Adweek regularly transacts substantial

  business in Richmond, Virginia, where it has a large social media following, including

  many followers at Martin, and a huge subscriber base. Since 1978, Adweek and its




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  employees have written hundreds, perhaps thousands, of articles on matters relating to

  Virginia’s advertising industry. At all times relevant to this action, Adweek acted as a

  partner, associate, or member of DMA or as an agent of DMA to publish and republish

  false and defamatory statements about Joe on the Internet and via social media, with the

  intended goal that Joe would never work again.

         9.        Defendant, Coffee, is a blogger, writer, and former senior editor employed

  by Adweek. [https://www.adweek.com/contributor/patrick-coffee/]. Adweek employed

  Coffee until August 16, 2019. Coffee is now at Business Insider. At all times relevant to

  this action, Coffee acted as an partner, associate or member of DMA or as an agent of

  DMA and its partners to publish and republish false and defamatory statements about Joe

  on the internet and via social media. DMA and its partner/members called Coffee

  “Patrick”, fed in him information and waited for “Patrick” to publish his exposes in

  Adweek.        In 2018 and 2019, Adweek published and republished the following

  defamatory articles written by Coffee about Joe to subscribers and advertising executives

  in Virginia:

          https://www.adweek.com/agencies/the-martin-agency-promotes-karen-costello-
  to-cco-in-the-wake-of-joe-alexanders-scandalous-departure/
          (“The Martin Agency Promotes Karen Costello to CCO in the Wake of Joe
          Alexander’s Scandalous Departure”);8




         8
                 Coffee published his articles to multiple new target audiences, including
  his followers on Twitter, to Adweek’s 600,000+ followers on Twitter, to the 81.500
  Twitter followers of Adweek’s “AgencySpy”, and Adweek’s 600,000+ followers on
  Facebook. [See, e.g., https://twitter.com/AgencySpy/status/1039533742249992192;
  https://www.facebook.com/Adweek/posts/joe-alexander-departed-last-december-amid-
  an-investigation-into-claims-of-sexual/10155436232142075/].


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          https://www.adweek.com/agencies/when-metoo-came-to-madison-avenue/4/
          (“When #MeToo Came to Madison Avenue … staffers at The Martin Agency say
          their complaints to HR about CCO Joe Alexander were repeatedly ignored or
          dismissed for years before he was ousted last December over multiple sexual
          harassment allegations”);

          https://www.adweek.com/agencyspy/the-martin-agency-turns-joe-alexanders-old-
  office-into-a-meeting-room-and-dog-house/148911/
          (“It’s been 10 months since The Martin Agency parted with CCO Joe Alexander
          after 26 years amid an investigation into multiple claims of sexual harassment
          made over nearly two decades”) (emphasis in original);

          https://twitter.com/PatrickCoffee/status/1075407319943524352
          (“The Martin Agency one year after the Joe Alexander sexual harassment scandal
          blew up the ad industry”);

          https://www.adweek.com/agencies/the-5-most-important-ad-industry-stories-of-
  2018/
          (“Misogyny and advertising have an unfortunate and well-documented history …
          This year, the conversation unquestionably changed; whether that change was
          dramatic enough to permanently impact the industry for the better remains a
          matter for debate. #MeToo officially hit the business in December 2017, when
          The Martin Agency fired CCO Joe Alexander”);

        https://www.adweek.com/agencyspy/the-20-biggest-agencyspy-posts-of-
  2018/152124/
        (“However you may now feel about Diet Madison Avenue, the group exerted a
        huge influence over the calendar year. After the departure of The Martin
        Agency chief creative Joe Alexander last December, 2018 became the year
        #MeToo finally arrived as the industry maybe, finally began to grapple
        with endemic abuses of power”).

  Virtually every article published by Adweek between December 2017 and July 2019

  contains provably false and defamatory statements about Joe. Coffee’s articles have been

  republished millions of times in the last year in Virginia, including by Martin. [See, e.g.,

  https://martinagency.com/news/then-and-now-refinery29-profiles-the-martin-agency].

          10.    Martin is a Virginia corporation, headquartered in Richmond, Virginia.

  Martin is a full-service agency with unified capabilities in advertising, strategic planning,

  direct response, digital, media services, data analytics, design and branded content.




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  Martin owns and operates a website, https://martinagency.com/, and a Twitter account,

  https://twitter.com/martinagency. The chief executive officer of Martin is Kriste Cavallo.

  [https://martinagency.com/about; https://www.linkedin.com/in/kristen-cavallo-1044633/].

  Cavallo was appointed to the position of CEO by IPG on December 12, 2017. Cavallo

  spent her formative years at Martin. She knew how special a place it was. She never

  experienced any misogyny while at Martin and never heard any complaints about Joe

  from anyone.

         11.     Estes lives and works in Richmond. [http://www.sissyestes.com/]. Estes is

  a former employee of Martin. [https://www.linkedin.com/in/sissy-estes/]. She was an art

  director that Joe recruited and brought to the agency in the mid-2000s. Estes worked

  primarily on the Walmart account. In or about 2011, after Martin lost a big portion of the

  Walmart business, Estes was part of a layoff involving a large part of the staff. Estes

  held a grudge against Joe and was very vocal about her layoff. In 2017, Estes conspired

  with DMA, Martin and others to tortiously interfere with Joe’s employment and to

  defame Joe. Like DMA, Estes publicly bragged about taking Joe down. Martin breached

  fiduciary duties and shared confidential, non-public information with Estes that Joe was

  going to be terminated. Estes celebrated Joe’s termination. She posted the following

  message to Facebook:




  Estes exhibited a true messianic desire to hurt Joe. She intentionally violated a non-

  disclosure agreement and intentionally disclosed confidential settlement information to


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  DMA. She published false and defamatory statements about Joe to DMA, to Martin and

  to “thousands of women” and other professionals in the advertising industry, to

  newspapers, including the Wall Street Journal and the Richmond-Times Dispatch, and to

  trade magazines, such as Adweek, all in furtherance of a conspiracy to tortiously interfere

  with Joe’s employment as CCO of Martin and to ensure that Joe never works another day

  in his life. Among the articles that contain Estes’ false and defamatory statements are the

  following:

         https://www.wsj.com/articles/ousting-an-accused-harasser-wasnt-enough-ad-
  agency-staff-wanted-to-know-why-1513161001;9

         https://www.richmond.com/business/local/amid-new-allegations-of-misconduct-
  former-employees-discuss-the-culture/article_b0930ee2-c672-55d6-8aca-
  ef14836999d9.html.10

  As a veteran in the advertising industry, Estes knew that her false and defamatory

  statements to DMA and to the media would be republished over and over and over to



         9
                 On December 13, 2017, the Wall Street Journal reported that “[s]everal
  other former employees and another person with knowledge of Mr. Alexander’s alleged
  conduct told The Wall Street Journal about allegations of harassment and assault by the
  executive, including previously unreported details.” Estes was one of the unnamed
  “former employees” who spoke with the Journal.
         10
                  On December 15, 2017, the Richmond Times-Dispatch reported that
  “Sissy Estes, who worked at The Martin Agency from 2007 to 2012, said that when she
  was first hired, a creative director gave her a warning about Alexander with no
  explanation: ‘He said, ‘Stay away from Joe. Just try to avoid Joe.’ One day, Estes heard
  Alexander comment on another woman in his department: ‘Why would we hire someone
  who looks like that? … Another time, Estes said she heard Alexander tell a woman she
  looked great and dared the woman to go to HR about it … He earned the moniker ‘HR
  Joe,’ Estes said … ‘I know Joe loves his wife and his family, but he’s saying things that
  could be construed as a sexual invite or a coming on or sexually inappropriate things that
  he should not be saying. There were so many women coming to me crying,’ Estes said.
  ‘A lot of us tried to change things, and we were brushed off.’ About a month later, Estes
  was laid off, along with others at the company”. Estes’ statements to the Richmond
  Times-Dispatch were completely fabricated as part of the conspiracy to defame and
  tortiously interfere with Joe’s employment. None of these events ever occurred.


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  Joe’s detriment. [E.g., https://twitter.com/patrickmwilson/status/942077220645982209].

  In fact, Estes was counting on a massive republication in order to kill Joe’s reputation.

            12.   Estes is very good friends with Robin Bidwell (“Bidwell”), another former

  employee of Martin. In 2011, Bidwell made a claim against Martin and Joe. She alleged

  (falsely) that she had been sexually harassed. Joe emphatically denied any wrongdoing.

  The matter was settled in 2013 with Bidwell, Martin and Joe executing a confidential

  settlement agreement. In spite of the confidential settlement agreement, Bidwell leaked

  the terms of the confidential settlement to Estes who in turn leaked the terms to the

  Defendants between October 2017 and November 21, 2017.

                            III. JURISDICTION AND VENUE

            13.   The United States District Court for the Eastern District of Virginia has

  subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

  citizens of different States and the amount in controversy exceeds the sum or value of

  $75,000, exclusive of interest, costs and fees.

            14.   The Defendants are subject to personal jurisdiction in Virginia pursuant to

  Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) and § 8.01-328.1(B) of

  the Code, as well as the Due Process Clause of the United States Constitution. The

  Defendants and their agents and co-conspirators in Virginia at Martin divulged

  confidential information and transmitted and published false and defamatory statements

  in Virginia for the sole purpose of injuring Joe and interfering with his employment at

  Martin.     The Defendants are subject to specific personal jurisdiction.        They have

  minimum contacts with Virginia such that the exercise of personal jurisdiction over them




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  comports with traditional notions of fair play and substantial justice and is consistent with

  the Due Process Clause of the United States Constitution.

         15.     Venue is proper in the Richmond Division of the United States District

  Court for the Eastern District of Virginia pursuant to 28 U.S.C. § 1391(b)(2).             A

  substantial part of the events giving rise to the claims stated in this action occurred in

  Richmond, Virginia.

                        IV. STATEMENT OF MATERIAL FACTS

         16.     Martin is a wholly-owned subsidiary of IPG. It is part of IPG’s “McCann

  Worldgroup” network, one of the world’s largest advertising agency networks.

  [https://www.interpublic.com/our-companies/the-martin-agency/].

         17.     Joe had a valid written contract with Martin that was not terminable at

  will. In 2016, Joe earned gross wages of $1,071,856.83. His performance in 2016 was

  nothing less than spectacular. In March 2017, Joe received the maximum 2016-2017

  Long Term Incentive (LTI) Award from McCann and the maximum Performance Bonus

  from Martin. Joe’s creative product in 2017 exceeded all expectations.

         18.     Between 2013 and 2017, Martin underperformed financially.11 The major

  cause was the CEO, Matt Williams (“Williams”). Williams’ underperformance as CEO

  was well-known inside the Agency. He faltered in all major areas: financial – declining

  revenue, margin and profit; new business – no CMO recruited and put in place for years

  and a stunning lack of wins; strategy and communications – failure to appoint a new CSO

  and a lack of cohesive strategic vision for 4 years and a failure to update the Agency’s

  company vision and communication strategy.          Most importantly, Williams failed to



         11
                 Martin’s creative product kept it from sinking.


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  inspire and connect with Martin staff.     He was often described by others as “not

  understanding how the agency actually works.” Concerns about Williams simmered into

  the fall of 2017.

         19.     Williams’ underperformance did not go unnoticed at McCann. Concerns

  filtered down from McCann to Martin’s former CEO and chairman emeritus, John

  Adams (“Adams”). Adams emailed both Joe and Martin President, Beth Rilee-Kelley

  (“Rilee-Kelley”), that the Agency had a real problem and needed to make an action plan.

  Adams laid out an elaborate plan pursuant to which Williams would step down as CEO

  and become chairman (retaining a new role as “head of strategy”), and Rilee-Kelley

  would take over as CEO. Behind the scenes in September 2017, Rilee-Kelley made sure

  Williams did not know he was being pushed out as CEO and replaced. Her stated goal

  was to get Williams to “take this escape hatch and continue to work closely with us.

  We’ve got too much riding on him in the hopper right now.” Rilee-Kelley also made

  sure that she and Joe were the leadership team moving forward. When the action plan

  was complete, Rilee-Kelley texted Joe as follows:




  Throughout the entire process of reorganizing management, Rilee-Kelley never once

  suggested to anyone that Joe’s behavior had ever been an issue. Rather, as evidenced by

  her text message, Rilee-Kelley thought that the path to improvement of Martin’s financial



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  picture and its leadership going forward was “you and me, kid”. Rilee-Kelley would not

  have hitched her wagon to Joe if there had been any complaints made about Joe.

         20.     On September 22, 2017, Joe picked his favorite ads of all time for

  Adweek. [https://twitter.com/InterpublicIPG/status/911304184217075714].

         21.     On September 27, 2017, Joe was honored by the 4A’s Foundation12 as one

  of the “100” who made advertising great. The award was a recognition of Joe’s strong

  belief in and practice of diversity in the workplace.    Joe took giant steps towards

  improving workplace diversity at Martin. He brought Karen Costello (“Costello”) to the

  Agency. Costello was the first woman to serve as Executive Creative Director (“ECD”).

  [http://www.adweek.com/agencies/the-martin-agency-hires-karen-costello-to-lead-

  mondelez-account-as-executive-creative-director/ (“‘Karen is one of the top creative

  leaders in the industry. But she is hardly one to brag. So I will for her. She’s already

  making a huge difference in the place,’ said Martin Agency chief creative officer Joe

  Alexander in a statement.”].13

         22.     On October 2, 2017, the Richmond Times-Dispatch published a lengthy

  piece in the Metro Business section, entitled “An honor for Martin Agency’s

  Alexander”.    [https://twitter.com/Advertising24x7/status/914696959381737479     (“Joe




         12
                 The 4A’s is the national trade association representing the advertising
  agency business in the United States. Established in 1997, the 4A’s Foundation was
  created to galvanize the industry around improving the level of diversity within
  advertising and media agencies. [http://foundation.aaaa.org/about].

         13
                 After Joe was terminated by Martin, the 4A’s Foundation summarily
  rescinded the award. https://www.thedrum.com/news/2017/12/08/4as-rescinds-joe-
  alexander-s-organizational-honor]. Coffee was the first to report the award being
  rescinded.       [https://www.adweek.com/agencyspy/a-martin-agency-account-director-
  offers-her-perspective-with-notmymartin-post/140968/].


                                            24
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  Alexander of The Martin Agency - making advertising great”)]. Joe and many

  members of his creative team were on the cover:




  All was well. Joe’s team expressed nothing but positive enthusiasm and happiness about

  the creative work being performed and the present direction and momentum of the work-

  product. No one informed Joe of any complaints about his behavior or issues of any

  kind. Joe had the solid backing of the entire Martin Agency.

         23.    In October 2017, Joe and Rilee-Kelley traveled to New York for a forward

  planning meeting with McCann brass. McCann Worldgroup North America President,

  Chris MacDonald (“Macdonald”), was very impressed with the financial and creative

  plan outlined by Martin for 2018. During the meetings, Joe had the full and unfledging

  support of both Rilee-Kelley and McCann. Joe’s creative work and leadership were

  complimented. No questions of any kind were raised by anyone about Joe or about the

  work conditions and environment at Martin. While in New York, Joe went to a Yankee’s

  game with the Global Creative Chairman of McCann Worldgroup, Rob Reilly (“Reilly”):




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  Again there was no mention from anybody, either inside Martin or at McCann, of any

  complaints about Joe or any issues of any kind. In fact, Joe’s creative campaigns were

  universally praised and commended.

         24.     On November 7, 2017, just two weeks before his termination, Macdonald

  met with Joe and others at Martin in Richmond, Virginia, for follow-up planning

  sessions. Once again, Joe’s work was complimented. After the meeting, Macdonald

  emailed Joe:




                                           26
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  As of November 7, 2017, there was not a single mention of any complaint or issue of any

  kind involving Joe. No one who attended the planning meeting, including Rilee-Kelley

  and Williams, mentioned anything.

  A.     DIET MADISON AVENUE

         25.    In or about October 2017, in the wake of the media frenzy surrounding

  reported allegations of sexual misconduct by Harvey Weinstein, Cindy Gallop

  (“Gallop”), a former advertising executive turned “activist”,14 issued a public call to

  action on Facebook for advertising professionals to speak up about “sexual harassers” in

  the industry. Gallop claimed that her Facebook post came “in response to the outpouring

  of sexual harassment stories” allegedly committed by Hollywood producer Weinstein.

  [https://adage.com/article/agency-news/cindy-gallop-asks-advertising-expose-harvey-

  weinsteins/310976]. Gallop urged woman to “name the names of their harrassers”.

  [https://www.campaignlive.co.uk/article/sexual-harassment-adland-cindy-gallop-wants-

  names/1447809]. Gallop claimed to have been contacted by at least 160 women who

  reported sexual harassment of some kind. Based on the unverified reports she received,

         14
                  Gallop claims that she likes to “blow shit up. I am the Michael Bay of
  business”. [https://twitter.com/cindygallop?lang=en].


                                            27
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  the outspoken Gallop compiled “Cindy’s List” of alleged “sexual harassers”.

  https://www.mumbrella.asia/2017/11/cindy-gallop-asia-treated-dumping-ground-sexual-

  predators (“What a load of absolute fucking bollocks. A man in the industry recently said

  to me that men are scared of appearing on ‘Cindy’s List’ and that anyone could find

  themselves on it. I bit his head off because the sheer scale of human misery I’m looking

  at in my inbox from all around the world, and not a false accusation in them – quite the

  opposite. How dare these men pronounce on it; they have no idea what women have

  been going through for decades. This is why we need to break these stories: these men,

  these names and companies and client brands attached, so the men understand the

  problem is them”).

         26.    Upon information and belief, Gallop supplied “Cindy’s List” to DMA, and

  instigated, aided, abetted, enticed and/or assisted DMA in its smear and intimidation

  campaign.

         27.    On October 30, 2017, IPG’s chairman, Michael Isor Roth (“Roth”),

  anticipating attacks by Gallop and #MeToo,15 circulated an internal note/memo to all

  50,000-plus IPG employees around the world, including everyone at Martin, under the

  subject line “A Workplace Free from Harassment” (the “Roth Memorandum”). The Roth

  Memorandum “outlined a ‘zero-tolerance’ policy for all types of harassment”.

  [https://www.adweek.com/agencies/ipg-ceo-issues-memo-promising-zero-tolerance-for-

  sexual-harassment/; https://www.thedrum.com/news/2017/10/30/ipg-chief-michael-roth-

  details-firm-s-zero-tolerance-policy-sexual-harassment-memo].



         15
                It is unclear when Roth first became aware of Martin’s direct involvement
  with DMA. It is possible that the Roth Memorandum was a pro-active response to the
  collusion between Martin and DMA.


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         28.     Roth shamelessly pandered to Gallop and #MeToo in order to insulate

  IPG and its agencies from the devastating negative publicity and adverse financial effects

  incident to the witch hunts that started in the fall of 2017.

         29.     Because of Roth’s irresponsible Memorandum, Joe was at the mercy of

  DMA and every disgruntled employee or ex-employee of Martin with an axe to grind.

         30.     The Roth Memorandum gave any IPG employee carte blanche to disclose

  confidential employee and human resource files to #MeToo and DMA.              The Roth

  Memorandum empowered Martin to breach fiduciary duties, violate the IPG Code of

  Conduct, deprive male employees of due process, and take the law into its own hands.

         31.     Between approximately mid-October and November 21, 2017, Martin

  secretly disclosed to DMA and the DMA Partners the terms of the 2013 confidential

  settlement agreement with Bidwell and the contents of other confidential Martin HR

  files/reports. Estes or Martin falsely stated to DMA that in “Joe Alexander’s case, there

  was a slush fund created just for him internally at Martin” to deal with Joe’s “crap” – a

  “slush fund” that was hidden from “Michael Roth and IPG”:




                                                29
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  In addition to the “slush fund” post, Martin and DMA exchanged numerous false and

  defamatory statements about Joe via Instagram direct messenger. They wrongly accused

  Joe of sexual harassment and labeled him a predator.16

  B.     IPG/MARTIN TERMINATES JOE

         32.     Upon information and belief, IPG did not know that Martin had breached

  the 2013 confidential settlement agreement or that Martin, Estes and others were

  disclosing confidential HR files/reports and information to DMA.

         33.     Although IPG claims that it “first learned” of “alleged misconduct” by Joe

  in “mid-November” 2017 [https://www.wsj.com/articles/ousting-an-accused-harasser-

  wasnt-enough-ad-agency-staff-wanted-to-know-why-1513161001],         IPG     has   never

  revealed how or from whom it learned about the so-called “alleged misconduct” or what,

  indeed, it learned, if anything, in “mid-November” 2017.17

         34.     As soon as IPG found out that Martin had breached fiduciary duties and

  disclosed confidential employee information to DMA and that that confidential

  information (and false accusations) about Joe was being published by DMA, IPG ordered

  Martin to terminate Joe and cover it up.




         16
                 Upon information and belief, DMA and its partners engaged in both libel
  and slander of Joe between December 2017 and the present that Joe has not discovered
  because he does not yet have access to the DMA Instagram account or the DMA Gmail
  accounts or the emails and text messages of the individual DMA partners, including
  Batthany, Hurt and Buta. Joe believes that additional false and defamatory statements
  will be revealed through discovery.

         17
                 A spokesman for IPG told the Wall Street Journal that IPG first learned
  about the 2013 confidential settlement during the week of November 20, 2017, and
  received a copy of the document on December 6, 2017. This is a preposterous lie. IPG
  has never revealed how or from whom it learned about the 2013 confidential settlement or
  why it waited until December 6, 2017 to get a copy from Martin.


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         35.    At the same time (“[a]round the second week of November” according to

  the Wall Street Journal), IPG and Martin began a pretextual “investigation” of Joe. Even

  DMA thought the “investigation” was “bogus”:




         36.    The IPG/Martin “investigation” was solely intended to cover-up Martin’s

  massive betrayal, breaches of fiduciary duty, breaches of the 2013 confidential settlement

  agreement, and violations of the IPG human resources policies and Code of Conduct.




                                             31
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         37.     In truth, IPG decided to terminate Joe in the hopes that DMA would not

  look further into the cover-up of sexual harassment by the “C-suite” or the handling of

  sexual harassment claims by IPG/Martin.

         38      IPG wanted to get the spotlight off itself and Martin before DMA

  negatively publicized the confidential information and salacious stories to clients, which

  it threatened to do:




         39.     In order to appease DMA and cover-up Martin’s breaches of fiduciary

  duty and gross negligence in disclosing confidential information to DMA, IPG and


                                             32
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  Martin manufactured a false narrative about a claim of “sexual harassment”. Although

  IPG and Martin represented to trade magazines that Joe’s termination followed an

  “internal investigation into an allegation of sexual harassment by the chief creative

  officer”     [https://adage.com/article/agency-news/exit-martin-agency-cco-joe-alexander-

  internal-investigation/311550;      https://twitter.com/adage/status/938523336858054656

  (emphasis added)], in truth, there was no investigation and, even more to the point, there

  was no “allegation of sexual harassment” that prompted Joe’s termination. IPG and

  Martin actually made it up.

         40.      Martin complied with IPG’s direction to concoct a sexual harassment

  complaint so as to conceal Martin’s involvement with DMA and the fact that IPG had

  decided to give Joe up to toxic DMA and #MeToo.

  C.     THE FAKE CLAIM OF “SEXUAL HARASSMENT”

         41.      On November 21, 2017, at 3:30 pm, Joe met with Rilee-Kelley and

  Williams. Joe thought it was a routine weekly meeting. Rilee-Kelley had a sheet of

  paper. She made an off-hand comment that “they” had been “watching this” for a

  “couple of weeks”. Then, she fraudulently misrepresented to Joe that “someone”18 had

  “filed” a sexual harassment complaint against Joe. Joe was floored. Rilee-Kelley refused

  to give any details. She misrepresented to Joe that it looked “bad”. Rilee-Kelley said

  that Joe had two options: (1) resign and it “goes away”, or (2) “you can fight it and

  probably lose which would result in your termination. As your friend, you should take

  number 1”. Rilee-Kelley refused to disclose what the complaint was or who made it.



         18
              Joe would later find out on December 1, 2017 that the alleged “someone”
  was                    (“Jane Doe”), a woman who Joe had worked with for years – a
  woman who had never before complained to anyone about Joe. See ¶ 60 infra.


                                              33
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  “I’d follow you anywhere”. “Just like the good ‘ol days!” These are not the words of

  a woman who has EVER been sexually harassed by her boss.

         47.     Joe’s   style   was   inclusive,   collaborative, nurturing, encouraging,

  mentoring, advocating. He treated all colleagues with respect. He shared opportunity

  with all, as evidenced by the thanks he routinely received:




         48.     In truth, Rilee-Kelley, acting upon direction from IPG, manufactured the

  false claim that Joe had sexually harassed Jane Doe. Rilee-Kelley betrayed Joe and acted

  out of mechanical loyalty to IPG and Roth. Rilee-Kelley was a good lieutenant who

  valued the security of her job more than loyalty to her close personal friend and partner of

  twenty-six (26) years.    She backed IPG and terminated Joe’s employment to avoid

  exposure of Martin’s breaches of fiduciary duty, gross negligence and the purported HR

  shortcomings and complacency at Martin that had motivated DMA from the start.



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  D.     THE HR INQUISITION

         49.     The day after Thanksgiving, Riley-Kelley texted Joe. She told Joe that he

  could not reach out, talk to, or “confront” anyone at Martin, McCann or IPG. She warned

  Joe about trying to figure out who had lodged the complaint: “Pls don’t try to figure out

  who lodged the complaint because it can be viewed as retaliation which would result in

  immediate dismissal.” In truth, Rilee-Kelley was afraid that Joe would discover that the

  complaint of sexual harassment was a lie.

         50.     By Monday, November 27, 2017, Joe still had not heard anything from

  Rilee-Kelley about the next steps. On Tuesday, November 28, 2017, Joe received a text

  from Rilee-Kelley at 6:19 pm: “Just tried to call you. You are my partner and I get it. I

  am trying to get you as much as I can so you can make the right decision so you can be

  thoughtful and make the right decision for you going forward. And it’s taken more time

  than I hoped. Working hard to get you something tomorrow.” This was more lies. In

  truth, Rilee-Kelley was desperately trying to solicit more complaints against Joe.

         51.     On Thursday, November 30, 2017, Joe met with Rilee-Kelley and

  Williams at the Willow Oaks Country Club. Rilee-Kelley slid a single sheet of paper

  across the table. There were 10 lines on the paper, each describing in very general terms

  an alleged complaint. No dates, times, places, or names. Joe asked for the name of the

  woman – the “someone” – who had filed the complaint. Rilee-Kelley refused to say. Joe

  asked if any complaint was in writing. Rilee-Kelley stated that “they” had one email, the

  rest were “verbal” complaints. Rilee-Kelley did not identify when the so-called verbal

  complaints had been made. Rilee-Kelley again said that it “doesn’t look good and as

  your friend, I advise you to resign because if you investigate and the complaints are true,




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  you will be fired with cause and lose everything.” This was Rilee-Kelley’s third threat

  along these lines.   Joe looked Rilee-Kelley in the eye and said, “after 26 years of

  partnership and all that I’ve done, you couldn’t come to me and say this is bad. You have

  6 months. Let’s figure out an exit that’s good for all of us.” No response. Rilee-Kelley

  then looked at Joe and stated, “you should be grateful we are offering you the option to

  resign. You think Matt Lauer got that? You think Garrison Keiller got that? We are

  doing you a favor.” Then, Williams dropped the final coercive bombshell. He told Joe

  “You have until 5 pm tomorrow, Friday December 1, to take option 1 or 2. Because

  people are already wondering where you are, what’s going on, and we have to tell our

  clients. We can’t have this speculation.”

         52.     Joe was so upset he left after 25 minutes.

         53.     Shortly after the meeting on November 30, 2017, Williams texted Joe:




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         54.    On December 1, 2017, Joe attended a pretextual Human Resource

  inquisition at the Richmond Marriott Downtown.         Meg Garner and Alice Albright

  (Martin Agency HR) were at the meeting in person. Dana Mansfield (McCann HR)

  participated by phone. Garner reminded Joe about the IPG Code of Conduct and then

  revealed to Joe that the sexual harassment claim had been filed by Jane Doe.

         55.    Joe could not believe it.    There was no one in Martin that Joe was

  professionally or personally closer to than Jane Doe. Jane Doe was close friends with

  Joe’s wife, Sarah. Joe’s daughter babysat Jane Doe’s first baby. Jane Doe had shared a

  photo of her new baby with Joe just months before. Joe and Jane Doe shared everything:

  work, home, kids, play, laughs, sadness, trust, life, even death. Both Joe and Jane Doe

  engaged in typical office banter: You look great. Those jeans are awesome. That’s a

  great haircut. Joe was Jane Doe’s biggest champion. In fact, Joe hand-selected her to be

  Martin’s first creative recruiter. Jane Doe performance was outstanding, just as Joe had

  predicted. She took time off and had a baby. She came back into a new role – creative

  department manager. Jane Doe was not as confidant in the new role, but, again, Joe

  propped her up and made sure everyone knew she was doing an exceptional job. Joe and

  Jane Doe were as close as could be. In fact, Joe would always discuss important and/or

  vital information and lean on Jane Doe when he had to make important decisions. Jane

  Doe called it, “The Vault.” “Don’t worry,” she would say. “It’s in the vault.” Anything

  Joe said to Jane Doe he knew was safe, as safe as it would be with anyone.

         56.    Garner gave Joe a 4-year old email from 2013. The subject matter was the

  Cobblestone Awards, an award Jane Doe and Joe organized every year for the top

  creative contributors at Martin. In a line buried in the email, Joe and Jane Doe bantered




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  back and forth (as always) about a dream that Joe had had. Joe did not even remember

  the email. No one ever complained about the email. Rather, Garner and/or Rilee-Kelley

  searched the server for things to use against Joe, and found one old email. Joe was not

  even given a copy of the email. Garner went on to mention other verbal “incidents”: a

  young woman wonders why Joe pays attention to her; another woman says Joe makes her

  feel “creepy”; another person says Joe called other women “hot”; Joe texts emojis to a

  women; another person asks why Joe wanted to meet her in his office.20

         57.     It was a preposterous witch hunt. Joe asked, “how are any of these

  incidents sexual harassment?” Joe asked for times, places and dates. Garner admitted

  that she did not have any times, places or dates. Garner said that in her claim Jane Doe

  said she changed her clothes and appearance to stop the “harassment”. This was not true.

  Jane Doe was not shy about her clothes, her body and making sure everyone knew she

  looked great. She often said in front of Joe and others that she was proud of her body by

  saying, “There’s no shame in my game.” She was completely comfortable around Joe

  and others no matter what she was wearing. In fact, one of the last times she and Joe

  worked together in his office, Jane Doe wore a very short skirt and moved her chair right

  next to Joe’s. And, that same week, she sat working on Joe’s sofa wearing tight jeans,

  her legs spread-eagled.

         58.     The meeting was pointless. Garner, Albright and Mansfield showed “zero

  tolerance” and showed a reckless disregard for due process. They had already made a

  decision on who/what to believe and who/what not to. It was a sham.



         20
               Joe’s office was glass-walled, right in the middle of the busiest part of the
  Martin Agency, hardly a place where any “sexual harassment” would have ever occurred.



                                             41
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         59.     About 25 minutes into the inquisition, Joe handed Garner a forced

  resignation letter. He stood up and said, “I would rather walk out with my dignity than

  go through this inquisition any longer.” Joe left.

         60.     After the HR inquisition on December 1, 2017, Joe prepared a draft

  statement to be released to Martin. He sent it to Rilee-Kelley and Williams because they

  had promised and represented that if Joe resigned they would release a joint statement

  together concerning Joe’s departure from Martin. Rilee-Kelley and Williams broke their

  promise. At 5:00 p.m., much to Joe’s astonishment and chagrin, Williams texted Joe the

  following message:




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         61.     By 5:00 p.m. on December 1, 2017, Joe’s entire history and presence on

  Martin’s website and social media – articles, bio, awards, photos – had been scrubbed. It

  was planned and premeditated.

         62.     At 6:00 p.m., Adweek and Coffee published the “breaking” news of Joe’s

  termination to Adweek’s millions of online subscribers and its 600,000 Twitter followers.

  [https://www.adweek.com/agencies/the-martin-agencys-chief-creative-officer-joe-

  alexander-is-out-after-26-years/;

  https://twitter.com/Adweek/status/956919170561691650].

  E.     THE ADWEEK/COFFEE MEDIA SLAUGHTER

         63.     Because of Joe’s sudden departure and the vagueness of Williams’ internal

  announcement to Martin, speculation about Joe’s termination spread like a wildfire in

  Southern California. Former co-workers and peers texted and emailed Joe relentlessly.

  They expressed bewilderment, sadness and thanks for Joe’s leadership.

         64.     Some prejudged Joe immediately.21




         21
               On December 3, 2017, Joe engaged in the following text conversation
  with Danny Robinson (“Robinson”), a senior creative at the Agency:

                 Joe:           I'm going to miss you guys. Hope when it settles down we
                                can grab coffee.

                 Danny:         I'll have to think about that.

                 Joe:           What? Really?

                 Danny:         Gotta think about myself. Don’t think it’s a good idea to be
                                seen with you.

                 Joe:           Oh wow. That’s really sad.

  Joe never heard from Mr. Robinson again.


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  also notes that a case brought against you in 2012 was settled out of court for an

  undisclosed total. Please let me know if you would like to comment.”

         69.    On December 7, 2017, Adweek published a damning indictment of Joe

  written by Coffee, citing unnamed “sources”, anonymous “women”, an unidentified

  “former executive”, and unidentified “former employees” and “former co-workers”. As

  planned, Adweek and Coffee gave a national public voice to and amplified the tortious

  conduct of DMA. [https://www.adweek.com/agencies/the-martin-agency-chief-creative-

  officer-joe-alexander-exits-after-multiple-sexual-harassment-complaints-sources-say/

  (“The Martin Agency Chief Creative Officer Joe Alexander Exited After Multiple

  Sexual Harassment Complaints, Sources Say”) (the “Adweek Hit Piece”)].22

         70.    The Adweek Hit Piece contained multiple false and defamatory statements

  of and concerning Joe, including:

         ●      Joe left The Martin Agency “after several sexual harassment claims23
                about him were made with the agency”;


         22
                  The coordinated effort between DMA and Adweek/Coffee is evidenced by
  the timing of publication of Coffee’s various stories. Coffee was always first to report
  the terminations. He clearly had inside information from DMA that no one else had. For
  instance, on the same day Watson was fired by CBP, Adweek/Coffee simultaneously
  published an article titled “CP+B Fires Chief Creative Officer Ralph Watson”.
  [https://www.adweek.com/agencies/cpb-fires-chief-creative-officer-ralph-watson/]. That
  article, and the “hit list” published by DMA shortly thereafter, linked Watson to other
  high-profile advertising executives’ terminations that were allegedly because of sexual
  harassment.

         23
                The only “sexual harassment claim” ever made prior to December 1, 2017
  was the one reported to Joe by Garner. In truth, however, Jane Doe never made the claim
  prior to December 1, 2017. IPG and Martin induced Jane Doe to make the claim, which
  IPG and Martin then supplied to trade magazines as the reason for Joe’s termination. IPG
  and Martin concealed the truth, which is that they terminated Joe in response to DMA’s
  threat to publicly expose and shame IPG and Martin for how they handled sexual
  harassment claims and to cover-up Martin’s egregious breaches of fiduciary duty,
  breaches of contract and violations of IPG HR policies and the Code of Conduct.



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         ●      Several women “reported concerns about his behavior to the agency,
                citing incidents as far back as the 1990s”;

         ●      Joe’s “nickname among some staff” in the 2000s was “HR Joe”;

         ●      In 2012, Estes told Mike Hughes that Joe “could not continue hitting on
                women”;24

         ●      Daniela Montanez (“Montanez”) “approached human resources in 2012 to
                let them know that she was uncomfortable working with Alexander”;

         ●      “Alexander made improper sexual advances” towards two “additional
                women”;

         ●      Alexander passed “a former executive” “his hotel key and invited her to
                his room to have sex during a business trip. They were both married at the
                time”;

         ●      This was “Alexander’s way of ‘testing the waters’ with women he found
                attractive”;

         ●      A “former worker” said “Alexander joked about threesomes and at one
                point propositioned her”;

         ●      “Three other former employees said Alexander regularly belittled co-
                workers, telling multiple women that they needed to lose weight and
                commenting on the size of their breasts in front of male colleagues. They
                allege that he once described a black female employee as “chocolate
                thunder” and frequently told Mormon staff members that no one wanted to
                spend time with them because they wouldn’t drink alcohol”;

         ●      Estes said, “[t]his has been happening for decades.”

         71.    Adweek and Coffee concealed the fact that none of the so-called

  “complaints” were ever reported to Martin Agency Human Resources or to any manager

  of Martin or IPG, as required by the IPG Code of Conduct.            Adweek and Coffee

  confirmed that “one former employee … and several of her colleagues” did not file




         24
                   Estes’ false statements about Joe were immediately retweeted by Gallop.
  [https://twitter.com/cindygallop/status/938816561502093312].


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  complaints until “Thursday”, December 7, 2017, the same day Adweek and Coffee

  published the Adweek Hit Piece.

         72.     Adweek and Coffee also published confidential information that they

  obtained from Martin, Estes, Bidwell and/or Hanley regarding the 2013 confidential

  settlement of the disputed claim that had been levelled by Bidwell against Martin and

  Joe. Adweek and Coffee stated that “nine sources with knowledge of the story” stated

  that “a woman in the creative department [Bidwell] accused Alexander of sexually

  harassing her and then firing her after she repeatedly rejected his advances.” Martin,

  Estes, Bidwell and/or Hanley also disclosed to Adweek and Coffee that “the settlement

  forbid the woman [Bidwell] from working for the larger Interpublic Group again in any

  capacity.”

         73.     The Adweek Hit Piece was republished millions of times between 2017

  and the present. [See, e.g., https://www.refinery29.com/en-us/2018/12/217506/the-

  martin-agency-women-executives-times-up (“The piece included two former employees

  who spoke on the record, saying they went to managers about Alexander at various points

  to no avail. Most damning though was a 2013 settlement between the agency and an

  unnamed      woman”);   https://qz.com/1201495/metoo-and-diet-madison-avenue-sexual-

  harassment-allegations-at-publicis-wieden-kennedy-martin-agency/ (“According to a

  lengthy report published by Adweek in December, Alexander was the subject of several

  harassment complaints about repeated incidents through his career, dating as early as the

  1990s”); https://twitter.com/cindygallop/status/938821321181618176 (“I’m disgusted

  @martinagency fired @joealex12 without publicizing the (many, years-long) reasons

  why”)].




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           74.   On December 7, 2017, Joe received a text from Stein stating that Martin

  had released an “internal memo” to the press. Prior to release, Martin did not provide a

  copy of the “internal” memo to Joe or even advise Joe that it intended to release the

  memo. The “internal” memo materially breached the terms of Joe’s verbal agreement

  with Rilee-Kelley and Williams and the IPG Release, including the covenant of good

  faith and fair dealing. Joe resigned on December 1, 2017. Martin promised Joe that if he

  resigned, it would not comment on the matter further and the parties would work together

  on a joint statement to Martin staff. The “internal” memo, published at the direction of

  IPG, was egregiously defamatory. Among other things, the memo falsely stated that the

  “behavior that Martin’s former CCO, Joe Alexander, is accused of is inexcusable. That’s

  why the only alternative was for him to leave The Martin Agency. That decision was

  ours.”    Martin further misrepresented that “people in our company felt unsafe and

  unheard”. Martin further falsely stated that it was “deeply sorry that any of you ever felt

  unsafe or unheard.” [https://www.adweek.com/agencies/the-martin-agency-releases-

  internal-memo-promising-to-get-better-in-wake-of-harassment-scandal/].

           75.   On December 8, 2017, Adweek and Coffee republished false statements

  about Joe by Kelsey Johnson (“Johnson”), an account supervisor with Martin. Johnson,

  inter alia, stated as follows: “we do not condone the behavior of Joe Alexander, or any of

  his enablers,25 or those who sexually harass, speak down to and demean women … we do

  not condone the environment and the culture that allowed him to feel safe and



           25
                 In truth, Joe was the only one targeted. Not one other person was accused
  of sexual harassment or “inexcusable” conduct. No “enablers” were ever identified. No
  “enablers” were terminated by IPG and Martin on or after December 1, 2017 because, in
  truth, there was nothing to “enable”. The defamatory statements about Joe were all
  invented out of whole cloth.


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  comfortable in his behavior. The environment that allowed him to stay here and prey on

  women for over twenty years”. [https://www.adweek.com/agencyspy/a-martin-agency-

  account-director-offers-her-perspective-with-notmymartin-post/140968/;

  https://medium.com/@kelseyann.johnson1/notmymartin-e00bbdc55c4b].

  F.      DIET MADISON AVENUE TAKES FULL CREDIT

          76.     DMA took full credit for getting Joe fired. Afterwards, they crossed Joe

  off their “master” hit list:




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  Beside Joe’s name on the “master” hit list was an entry: “32 times see doc”. Upon

  information and belief, this is a reference to the 2013 confidential settlement agreement

  and other HR Reports and documents unlawfully leaked and disclosed to DMA by

  Martin.

            77.   In addition to publishing the “master” hit list, and as further evidence of

  their actual malice, spite and ill-will towards Joe, DMA and its partner/members

  published a picture of Joe wearing a pig nose with emojis vomiting out of Joe’s eyes:




            78.   DMA and its partner/members never stopped defaming Joe. Long after

  Joe was terminated, they continued to stalk him and post false and defamatory

  statements, including the following malicious, insulting and hateful words:




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  DMA posted these insulting words after they learned that Joe had volunteered to be a

  national suicide crisis counselor.    Like Martin, IPG, and Estes, DMA and its

  partner/members were well aware of Joe’s prospective business opportunities.        The

  defamation and tortious interference never stopped. They intended to permanently injure

  Joe.   DMA and its partner/members, including Batthany, Hurt and Buta, reminded

  readers that:




         79.      Over ten years ago, Joe wrote a small book about Martin’s culture. He

  called it “Good and Tough”: good to each other, tough on the work; good place to work,

  tough place to leave. Martin embraced this motto. It was a large part of the Agency’s

  identity. Joe was never the person described by the Defendants as “preying on females”,

  a man who it was “unsafe” to be around. Joe was not “guilty” of actions “that are

  inexcusable.” The fact is, Joe had been, was then, and will always be a staunch advocate

  of equality and diversity in and out of the workplace. At Martin, Joe hired dozens of

  women, including the top three (3) female creatives in the Agency’s history: Karen

  Costello, Nancy Hannon and Deb Hagan. Joe’s last hire before his termination was

  Ashley Bozeman, the first African American female creative in the history of Martin. Joe




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  sent people to the 3% Conference26 every year since it began. He sent Jane Doe to the

  Conference in 2017. Joe was one of the very first supporters of Free the Bid, a non-profit

  initiative advocating on behalf of women directors for equal opportunities to bid on

  commercial jobs in the global advertising industry. [https://www.freethebid.com/]. Joe

  discovered female talent in other departments and brought them into creative, including

  copywriters Lassiter Stone, Miranda Morgan and Katie Lynn Moncure. He mentored

  countless women throughout Martin. Being inclusive was a tenet of his leadership style.

         80.     Joe has been surrounded his whole life by smart, confident, strong,

  courageous, compassionate women. He was raised by the strongest most beautiful person

  in his life: his Mother Jan. He grew up with three sisters who blazed trails and always

  had Joe’s undying support and admiration. He raised three incredible daughters. He has

  an amazing wife. It would have been impossible to have women in his life like this if

  Joe was the person described by the Defendants in this case.         It is physically and

  emotionally unattainable. The most telling proof of Joe’s character is the women in his

  life. [http://consciencenow.blogspot.com/].

              COUNT I – TORTIOUS INTERFERENCE WITH CONTRACT

         81.     Joe restates paragraphs 1 through 80 of this Amended Complaint, and

  incorporates them herein by reference.



         26
                 Founded by Kat Gordon in 2011, the 3% Conference is part of a
  movement to increase the number of female creatives in the advertising industry.
  [https://www.3percentmovement.com/movement (“Until we came along, only 3% of
  Creative Directors were women. And very few were people of color. We're changing the
  ratio because the more varied the people who come up with ideas, the better the ideas will
  be … Until women make up 50% of creative directors, we’ve got a crew who’ll keep
  working their butts off, all led by founder Kat Gordon”)]. Because of the hard work of
  the 3% movement, women now comprise up 29% of the total creatives in the industry.
  [https://www.3percentmovement.com/].


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         82.     Joe had a valid contract with Martin and reasonable business expectancies

  in his employment and property rights.

         83.    DMA, Batthany, Hurt, Buta, Adweek and Coffee each knew that Joe was

  employed as CCO of the Martin Agency from their review of public records and

  information, and/or from their discussions with DMA partner/members, employees

  and/or ex-employees of Martin with whom the Defendants were in private

  communications.

         84.    The Defendants intentionally interfered with Joe’s employment, property

  rights and business expectancies by, inter alia, (a) conspiring with employees and ex-

  employees of Martin to get Joe fired, (b) instigating, aiding and abetting in breaches of

  fiduciary duty, (c) engaging in repeated acts of defamation and insulting words, and (d)

  threatening to expose Martin and IPG’s human resources practices and failures.

  Defendant’s actions caused Martin and IPG to terminate Joe’s contract.

         85.     The Defendants’ actions and practices were and are illegal, independently

  actionable, defamatory, unethical, oppressive, over-reaching, fraudulent, hostile, immoral

  and sharp.

         86.     DMA, Batthany, Hurt, Buta, Adweek and Coffee engaged in actions and

  published statements that destroyed Joe’s reputation and ended his stellar career in

  advertising. It is now virtually impossible for Joe to obtain work. As an example: Joe

  was hired to do freelance, but when a vendor was told Joe was working on the job, they

  said he couldn’t be seen in their office or be on phone calls. Joe lost the freelance job.

  Joe has lost much more than money, however. His family suffered untold pain. His

  marriage is forever changed. He constantly fears what his former colleagues, clients and




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  others in the industry may think of him. The personal injuries Joe suffered – the disgrace,

  insult, humiliation, embarrassment, pain and mental anguish and suffering – are

  permanent.

         87.     As a direct and proximate cause of the Defendants’ tortious interference

  with contract and Joe’s reasonable business expectations, Joe suffered damage and

  incurred loss, including, but not limited to, actual damages, loss of business and income,

  diminished earning capacity, injury to his reputation, court costs, and other out-of-pocket

  expenses and damages in the sum of $25,000,000.00 or such greater amount as is

  determined by the Jury.

   COUNT II – TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS

         88.     Joe restates paragraphs 1 through 87 of this Amended Complaint, and

  incorporates them herein by reference.

         89.     After he was terminated by Martin, Joe attempted to pursue work as a

  freelancer. [https://www.linkedin.com/in/joealex12/].

         90.     Based upon his long career in advertising, Joe had a reasonable

  expectation of obtaining future employment and business.

         91.     From a review of publicly available information including Joe’s LinkedIn

  page, website and blogspot, the Defendants each knew about Joe’s business expectations

  and attempts to find work.

         92.     After December 1, 2017, Joe had a handful of opportunities to work on

  freelance campaigns.

         93.     As alleged above, after Joe’s termination from Martin, DMA, Batthany,

  Hurt, Buta, Adweek and Coffee intentionally interfered with Joe’s prospective business




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  relationships and opportunities by continuing to publish and by enticing others to publish

  and republish false and defamatory statements and images (visual content) about Joe.

  [See, e.g., https://www.adweek.com/agencyspy/the-martin-agency-turns-joe-alexanders-

  old-office-into-a-meeting-room-and-dog-house/148911/ (“Meanwhile, the former CCO is

  reportedly testing a return to the ad business. Several parties tell us that he has reached

  out specifically seeking work or looking to re-establish connections with industry

  influencers. On his personal blog, he recently congratulated Costello, wrote a post in

  which he discussed volunteer work and indirectly addressed the events preceding his exit,

  and shared a spec ad for the National Suicide Prevention Hotline following the death of

  Kate Spade. (The organization said it had no knowledge of that effort.)”)].            The

  Defendants intended that their continuing false statements would interfere with Joe’s

  ability to obtain future employment in the advertising industry. They knew that the false

  statements were substantially likely to deprive Joe of any ability to find work.

         94.       As a proximate result of the Defendants’ statements and improper actions,

  Joe has largely been unable to secure any substantial work in the advertising industry

  since his termination. Prospective employers who google his name fear retaliation by the

  Defendants and their supporters and/or the reputational risk of being “seen” with Joe.

  Absent the Defendants’ misconduct, it was reasonably certain that Joe would have

  obtained work, including the freelance business he sought, and/or kept the freelance work

  he did obtain.

         95.       The Defendants’ actions constitute tortious interference with prospective

  economic advantage.




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         96.    As a direct result of the Defendants’ tortious interference with prospective

  economic advantage, Joe suffered damage and loss, including, but not limited to, Joe

  suffered damage and incurred loss, including, but not limited to, actual damages, loss of

  business and income, diminished earning capacity, injury to his reputation, court costs,

  and other out-of-pocket expenses and damages in the sum of $25,000,000.00 or such

  greater amount as is determined by the Jury.

                     COUNT III – COMMON LAW CONSPIRACY

         97.    Joe restates paragraphs 1 through 96 of this Amended Complaint, and

  incorporates them herein by reference.

         98.    Beginning in October 2017, DMA, Batthany, Hurt, Buta, Adweek and

  Coffee combined, associated, agreed or acted in concert together and with other

  partner/members of DMA, with Estes and with others (whose identities are unknown to

  Joe at this time), for the express purpose of injuring Joe in his business and reputation

  through the publication and republication of false and defamatory statements and

  tortiously interfering with Joe’s employment as CCO of Martin. In furtherance of the

  conspiracy and preconceived joint plan, the Defendants and their confederates

  orchestrated a scheme the unlawful purpose of which was to cause Joe’s termination.

  Acting in concert, with specific knowledge of IPG’s “zero-tolerance” policy, the

  Defendants published, republished and spread false and defamatory statements about Joe

  with knowledge that IPG would order Joe’s termination without due process.

         99.    DMA’s sources were embedded in leadership and HR positions at Martin:




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  In fact, some of the original DMA partner/members actually worked at Martin:




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  Buta is “marabeanzz”. DMA protected the identities of its Martin confederates:




         100.   DMA admitted and confirmed that it’s actions were “one spoke” on the

  “wheel”:




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          101.   The Defendants acted intentionally, purposefully, without lawful

  justification, and with the express knowledge that they were injuring Joe.

          102.   The Defendants’ actions constitute a common law conspiracy to tortiously

  interfere with contract and reasonable business expectations.

          103.   As a direct result of Defendants’ conspiracy, Joe suffered damage and

  loss, including, but not limited to, presumed damages, actual damages, including, loss of

  employment, business and income, diminished future earnings capacity, insult, pain and

  mental suffering, humiliation, embarrassment, injury to reputation, court costs, and other

  damages in the amount of $25,000,000.00 or such greater amount as is determined by the

  Jury.

                         COUNT IV – AIDING AND ABETTING

          104.   Joe restates paragraphs 1 through 103 of his Amended Complaint, and

  incorporates them herein by reference.

          105.   The law recognizes a cause of action for aiding and abetting an intentional

  tort. See, e.g., Tysons Toyota, Inc. v. Globe Life Ins. Co., 45 F.3d 428 (4th Cir. 1994)

  (“Under Virginia law, one who aids and abets a third party’s breach of fiduciary duty

  may be held liable for providing such assistance”) (citing Patteson v. Horsley, 70 Va. (29


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  Gratt.) 263, 270-271, 273, 276 (1877)); Priester v. Small, 2003 WL 21729900, at * 5

  (Loudoun Cir. 2003) (recognizing a cause of action for aiding and abetting) (citing

  Daingerfield v. Thompson, 74 Va. (33 Gratt.) 136, 149-150 (1880) (“He who commands

  or procures another to do an unlawful act, is as responsible as a trespasser as he who

  commits the trespass.”)); Sherry Wilson and Co., Inc. v. Generals Court, L.C., 2002 WL

  32136374, at * 1 (Loudoun Cir. 2002) (“On two occasions the Supreme Court of Virginia

  has recognized the right of an injured plaintiff to recover damages against person who

  aids and abets the principal actor. More recently, Judge Kathleen H. Mackay has found

  claim founded upon the aiding and abetting of a fraud was sufficient to withstand

  demurrer. Kieft v. Becker, 2002 Va. Cir. LEXIS 33 (Fairfax County 2002). Thus, unlike

  some jurisdictions, it may be said that the common law of the Commonwealth has looked

  with favor upon recovery in tort against those who aid and abet others in the commission

  of the civil wrong for which damages may be maintained.”); see Quinn v. Knight, 2016

  WL 6471462, at * 4 (E.D. Va. 2016) (even if the claim of aiding and abetting is not to be

  treated as a separate tort, “it appears to be a viable alternative theory to secure joint

  liability.”) (citing All. Tech. Group v. Achieve 1, LLC, 2013 WL 143500, at * 5 (E.D. Va.

  2013)).

            106.   DMA, Batthany, Hurt, Buta, Adweek and Coffee aided and abetted

  Martin’s breaches of fiduciary duty and breaches of trust by, inter alia, (a) divulging and

  publishing confidential information about Joe, (b) receiving and utilizing HR reports and

  files with the full knowledge that they had no right in or to the materials.

            107.   As a direct result of the Defendants’ actions, Joe suffered presumed

  damages and actual damages, including, but not limited to, loss or injury to business,




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  insult, pain and suffering, humiliation, embarrassment, mental suffering, permanent

  damage and injury to his personal and professional reputations, attorney’s fees, costs, and

  other out-of-pocket expenses in the sum of $25,000,000.00 or such greater amount as is

  determined by the Jury.

                            COUNT V – DEFAMATION PER SE

         108.    Joe restates paragraphs 1 through 107 of his Amended Complaint, and

  incorporates them herein by reference.

         109.    The Defendants made and published to third-parties, including Martin and

  IPG, numerous false factual statements, which are detailed verbatim above, of or

  concerning Joe. The Defendants’ false and defamatory statements at issue in this action

  were published and republished within the past year.

         110.    By intentionally publishing statements on the Internet, to newspapers, to

  trade magazines and via social media, the Defendants knew or should have known that

  their false and defamatory statements would be published and republished over and over

  by third-parties, including other industry publications, subscribers and social media

  followers of those publications, and others, millions of times to Joe’s detriment and

  injury. Republication was the natural and probable consequence of the Defendants’

  actions and was actually and/or presumptively authorized by the Defendants.            The

  Defendants are liable for the republication of the false and defamatory statements within

  the year prior to the filing of this action under the doctrine announced by the Supreme

  Court of Virginia in Weaver v. Home Beneficial Co., 199 Va. 196, 200, 98 S.E.2d 687

  (1957) (“where the words declared on are slanderous per se their repetition by others is

  the natural and probable result of the original slander.”).




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         111.    The Defendants’ false statements constitute defamation per se.          The

  statements accuse and impute to Joe (1) the commission of felonies and crimes involving

  moral turpitude and for which Joe may be punished and imprisoned in a state or federal

  institution, (b) an unfitness to perform the duties of an office or employment for profit,

  including the job of a CCO, or the want of integrity in the discharge of the duties of such

  office or employment. The Defendants’ statements also severely prejudice Joe in his

  profession or trade.

         112.    The Defendants’ false statements caused Joe substantial harm, presumed

  damages and actual damages.

         113.    The Defendants made the false statements with actual or constructive

  knowledge that they were false or with reckless disregard for whether they were false.

  The Defendants acted with actual malice and reckless disregard for the truth for the

  following reasons:

                 a.      The Defendants pursued a predetermined agenda, which was

         to interfere with Joe’s employment and get him fired.

                 b.      The Defendants knew about IPG’s “zero-tolerance” #MeToo

         policy and intentionally published false and scandalous statements about Joe,

         knowing that IPG would immediately terminate Joe without any investigation or

         Due Process.

                 c.      The Defendants knew their statements were false and acted out of

         a desire to hurt Joe and to permanently stigmatize him. The words and images

         that they used were vile, contemptuous, any disproportionate to any occasion.




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           There were no sources for any of the defamation because they made up the

           statements out of whole cloth.

                  d.     They revealed confidential information with the intent to hurt Joe.

                  e.     The Defendants knew that the false and defamatory statements

           would be republished and repeated over and over, destroying Joe’s reputation

           globally and rendering him unemployable.

           114.   The Defendants lacked reasonable grounds for any belief in the truth of

  their statements, and, at the very least, acted negligently in failing to determine the true

  facts.

           115.   As a direct and proximate result of the Defendants’ defamation, Joe

  suffered substantial damage and loss, including, but not limited to, presumed damages,

  actual damages, loss of business and income, pain and suffering, emotional distress and

  trauma, insult, anguish, stress and anxiety, public ridicule, humiliation, embarrassment,

  indignity, damage and injury to his reputation, costs, and other out-of-pocket expenses in

  the sum of $25,000,000.00 or such greater amount as is determined by the Jury.

      COUNT VI – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

           116.   Joe restates paragraphs 1 through 115 of his Amended Complaint, and

  incorporates them herein by reference.

           117.   The Defendants’ conduct, detailed above, was intentional and reckless.

  The Defendants engaged in a series acts that, taken together, constitute extreme and

  outrageous behavior.     The Defendants deliberately created an anonymous Instagram

  account and Gmail account. They acted on unverified complaints of wrongdoing from

  sources they did not know. They purposefully initiated a campaign to smear top male




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  creatives in the advertising industry and to get them fired. They doxxed and defamed top

  creatives like Joe without any due process. They engaged in a malicious scheme of

  harassment, intimidation and mental torture.      The Defendants knew about the Roth

  Memorandum. They knew that their incendiary allegations would cause swift, immediate

  and severe emotional injury and financial loss. They knew that top creatives at any IPG

  company were peculiarly susceptible to summary termination. They knew that IPG

  would afford Joe no due process. In spite of their knowledge, the Defendants proceeded

  with their plan to cause Joe’s termination (and the terminations of many others on the

  “master” hit list). Defendants’ conduct was vulgar, flagrant, insulting and heartless.

  After Joe’s termination, DMA and the DMA Doe Defendants callously scratched Joe’s

  name off the list, as if Joe had been assassinated, published a picture of Joe wearing a pig

  nose, and Adweek and Coffee then published the Adweek Hit Piece to cap off the

  calumny.

          118.   The Defendants’ actions offend against generally accepted standards of

  decency and morality and are atrocious and utterly intolerable.

          119.   Their outrageous conduct caused Joe to suffer severe emotional distress,

  extreme fear and panic.

          120.   The Defendants’ misconduct constitutes intentional infliction of emotional

  distress.

          121.   As a direct result of the Defendants’ misconduct, Joe suffered damage and

  incurred loss, including, without limitation, pain and suffering, physical injury, severe

  emotional trauma, insult, embarrassment, humiliation, public ridicule, anguish, stress and

  anxiety, injury to reputation, special damages, medical expenses, attorney's fees, costs




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  and out-of-pocket expenses in the sum of $25,000,000.00 or such greater amount as is

  determined by the Jury.



         Joe alleges the foregoing based upon personal knowledge, public statements of

  others, and records in his possession. He believes that substantial additional evidentiary

  support, which is in the exclusive possession of DMA, Batthany, Hurt, Buta, other DMA

  partner/members, Adweek, Coffee, their agents, surrogates, alter egos, employees and

  other third-parties, will exist for the allegations and claims set forth above after a

  reasonable opportunity for discovery.

         Joe reserves the right to amend this Complaint upon discovery of additional

  instances of Defendants’ wrongdoing.



                     CONCLUSION AND REQUEST FOR RELIEF

         WHEREFORE, Joe Alexander respectfully request the Court to enter Judgment

  against the Defendants, jointly and severally, as follows:

         A.      Compensatory damages in the sum of $25,000,000.00 or such greater

  amount as is determined by the Jury;

         B.      Punitive damages in the amount of $350,000.00 or the maximum amount

  allowed by law;

         C.      Prejudgment interest at the rate of 6% per year on the Principal Sum

  awarded by the Jury from November 21, 2017 to the date of Judgment;

         D.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

         E.      Such other relief as is just and proper.




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                             TRIAL BY JURY IS DEMANDED



  DATED:         December 10, 2019



                                 JOE ALEXANDER



                                 By:    /s/ Steven S. Biss
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                                        Counsel for the Plaintiff




                                CERTIFICATE OF SERVICE

         I hereby certify that on December 10, 2019 a copy of the foregoing was filed

  electronically using the Court’s CM/ECF System, which will send notice to counsel of

  record and all interesting parties.




                                 By:    /s/Steven S. Biss
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                                        Counsel for the Plaintiff



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